                                             Appendix D
                       Defendant                             Date of Initial Preservation Notice

     Allied Orion Group, LLC                             2/22/2023


     Apartment Management Consultants, LLC               1/18/2024


     Avenue5 Residential, LLC                            11/18/2022


     Bell Partners, Inc.                                 1/30/2023


     BH Management Services, LLC                         11/9/2022


     Bozzuto Management Company                          5/3/2023


     Brookfield Residential Properties LLC               11/22/2022


     Camden Property Trust                               11/22/2022


     CH Real Estate Services, LLC                        2/13/20231


     ConAm Management Corporation                        11/30/2022


     Cortland Management, LLC                            1/31/2023


     CWS Apartment Homes, LLC                            1/19/2023


     Dayrise Residential, LLC                            5/24/2023




 1
     Initial date appropriate individuals advised of preservation obligations.
                                                     1

Case 3:23-md-03071           Document 776-7         Filed 02/09/24      Page 1 of 3 PageID #: 14191
  ECI Management, LLC                           9/7/2023


  Equity Residential                            10/25/2022


  Essex Property Trust, Inc.                    10/21/2022


  First Communities Management, Inc.            1/31/2024


  FPI Management, Inc.                          12/8/2022


  Greystar Management Services, LLC             4/24/2023


  Highmark Residential, LLC                     12/2/2022


  Independence Realty Trust, Inc.               11/16/2022


  Kairoi Management, LLC                        12/21/2022


  Knightvest Residential                        2/10/2023


  Lantower Luxury Living, LLC                   2/28/2023


  Lincoln Property Co.                          10/24/2022


  Mid-America Apartment Communities, Inc.
                                                10/21/2022
  and Mid-America Apartments, L.P.


  Mission Rock Residential, LLC                 1/27/2023


  Morgan Properties                             12/5/2022


                                            2

Case 3:23-md-03071         Document 776-7   Filed 02/09/24   Page 2 of 3 PageID #: 14192
  RealPage, Inc.                                 10/24/2022


  RPM Living, LLC                                1/9/2023


  Security Properties Residential, LLC           11/30/2022


  Sherman Associates, Inc.                       12/30/2022


  Simpson Property Group, LLC                    1/27/2023


  The Related Companies, L.P. and Related
                                                 7/11/2023
  Management Company, L.P.


  Thoma Bravo, L.P.                              1/27/2023


  Thoma Bravo Fund XIII, L.P., Thoma Bravo
                                                 8/4/2023
  Fund XIV, L.P.


  Thrive Communities Management, LLC             12/1/2022


  Trammell Crow Residential Company and
                                                 7/27/2023
  Crow Holdings


  UDR, Inc.                                      11/10/2022


  Windsor Property Management Company            12/23/2022


  WinnCompanies LLC and WinnResidential
                                                 12/28/2023
  Manager Corp.


  ZRS Management, LLC                            1/11/2023


                                             3

Case 3:23-md-03071       Document 776-7      Filed 02/09/24   Page 3 of 3 PageID #: 14193
